                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

 RILEY FRANKLIN NASH,                            )
                                                 )
                Petitioner,                      )
                                                 )
 v.                                              )       Nos.: 3:13-CR-84-TAV-CCS-6
                                                 )             3:16-CV-388-TAV
 UNITED STATES OF AMERICA,                       )
                                                 )
                Respondent.                      )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 [Doc. 270]. The United States responded in opposition on August

 31, 2016 [Doc. 276]; Petitioner replied in turn [Doc. 278]. Contained within Petitioner’s reply

 are what the Court interprets as motions for the appointment of counsel and stay of the collateral

 challenge pending the Supreme Court’s decision next term in Beckles v. United States, No. 15-

 8544, 2016 WL 1029080 (June 27, 2016) [Id.]. For the reasons below, Petitioner’s requests for

 counsel and a stay will be DENIED as moot and § 2255 motion will be DENIED and

 DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        In 2013, Petitioner pled guilty to conspiring to manufacture methamphetamine, in

 violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(C) [Doc. 43]. Petitioner faced a statutory

 penalty range of up to twenty years’ imprisonment for the offense [Doc. 237; Third Revised

 Presentence Investigation Report (PSR) ¶¶ 6, 65]. Based on prior Tennessee convictions for

 robbery [Id. ¶ 39], and selling oxycodone [Id. ¶ 41], the United States Probation Office deemed

 Petitioner to be a career offender under Section 4B1.1 of the United States Sentencing




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 Guidelines with an advisory Guideline range of 151 to 188 months’ incarceration [Id. ¶ 32; Doc.

 253]. After granting the United States’ motion for downward departure pursuant to Section

 5K1.1, this Court sentenced Petitioner to a 105-month term on November 19, 2014 [Doc. 253].

        No direct appeal was taken and, as a result, Petitioner’s conviction became final for

 purposes of § 2255(f)(1) on December 3, 2014, at expiration of time to file the same. See

 Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004) (an unappealed judgment

 of conviction becomes final when the fourteen-day period for filing a direct appeal has elapsed);

 Fed. R. App. P. 4(b)(1)(A)(i) (“In a criminal case, a defendant’s notice of appeal must be filed in

 the district court within [fourteen]-days after . . . the entry of . . . judgment.”). The United States

 Supreme Court decided Johnson v. United States—invalidating the residual clause of the Armed

 Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)—on June 26, 2015. 135 S. Ct. 2551 (2015).

 Petitioner filed the instant petition for collateral relief less than one year later [Doc. 270

 (challenging his career offender enhancement in light of the Johnson decision)].

 II.    TIMELINESS OF PETITIONER’S CLAIMS

        Section 2255(f) places a one-year statute of limitations on all petitions for collateral relief

 under § 2255 running from either: (1) the date on which the judgment of conviction becomes

 final; (2) the date on which the impediment to making a motion created by governmental action

 in violation of the Constitution or laws of the United States is removed, if the movant was

 prevented from making a motion by such governmental action; (3) the date on which the right

 asserted was initially recognized by the Supreme Court, if that right has been newly recognized

 by the Supreme Court and made retroactively applicable to cases on collateral review; or (4) the

 date on which the facts supporting the claim or claims presented could have been discovered

 through the exercise of due diligence. 28 U.S.C. § 2255(f). Supreme Court precedent makes

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 clear that Johnson’s invalidation of the ACCA residual clause amounted to a new rule made

 retroactively applicable on collateral review. See Welch v. United States, 136 S. Ct. 1257, 1265

 (U.S. 2016) (“Johnson is . . . a substantive decision and so has retroactive effect . . . in cases on

 collateral review.”); In re Windy Watkins, 810 F.3d 375, 380–81 (6th Cir. 2015) (finding

 Johnson constitutes a new substantive rule of constitutional law made retroactively applicable on

 collateral review and thus triggers § 2255(h)(2)’s requirement for certification of a second or

 successive petition). It is yet to be seen whether the same is true of the “new rule” that results

 from application of Johnson’s reasoning in the Guideline context. See Pawlak v. United States,

 822 F.3d 902, 911 (6th Cir. 2016) (holding that Johnson’s vagueness analysis applies equally to

 the Guidelines and, as a result, that the parallel residual provision contained in Section 4B1.2

 was void for vagueness); but see In re Embry, No. 16-5447, 2016 WL 4056056, at *1 (6th Cir.

 July 29, 2016) (recognizing that “it is not clear whether to treat Pawlak as a new rule that the

 Supreme Court has not yet made retroactive [to cases on collateral review] or as a rule dictated

 by Johnson that the Supreme Court has made retroactive”). The Court finds that it need not

 resolve the issue here, however, because the Johnson decision has no impact on Petitioner’s case.

 III.   STANDARD OF REVIEW

        The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

 conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, a

 petitioner must demonstrate “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law . . . so fundamental as to render the

 entire proceeding invalid.” Short v. United States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting

 Mallett v. United States, 334 F.3d 491, 496–97 (6th Cir. 2003)). He “must clear a significantly

 higher hurdle than would exist on direct appeal” and establish a “fundamental defect in the

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 proceedings which necessarily results in a complete miscarriage of justice or an egregious error

 violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

 IV.    ANALYSIS

        Petitioner articulates a single ground for relief, arguing that the Johnson decision

 removed his robbery conviction from Section 4B1.2’s definition of “crime of violence” and, as a

 result, he lacks sufficient predicate offenses for career offender enhancement [Doc. 270].

        The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a

 firearm after having sustained three prior convictions “for a violent felony or a serious drug

 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).

 The statute defines “violent felony” as “any crime punishable by imprisonment for a term

 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of

 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is

 burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);

 or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to

 another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual

 clause—that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563. The

 Court went on to make clear, however, that its decision did “not call into question . . . the

 remainder of the [ACCA’s] definition of violent felony,” i.e., the use-of-physical-force and

 enumerated-offense clauses. Id. Nor did Johnson disturb the use of prior serious drug offenses.

        Section 4B1.1 classifies a defendant as a career offender if (1) he or she was at least

 eighteen years old at the time the defendant committed the instant offense; (2) the instant offense

 of conviction is a felony that is either a crime of violence or a controlled substance offense; and

 (3) he or she has at least two prior felony convictions of either a crime of violence or a controlled

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 substance offense. U.S. Sentencing Manual § 4B1.1(a). Only Petitioner’s satisfaction of the

 third prong—possession of two qualifying predicate convictions—is disputed [Doc. 270].

        “Controlled substance offense” is defined as any offense “punishable by imprisonment

 for a term exceeding one year, that prohibits the manufacture, import, export, distribution, or

 dispensing of a controlled substance . . . or the possession of controlled substance . . . with intent

 to manufacture, import, export, distribute, or dispense.” U.S. Sentencing Manual § 4B1.2(b).

 “Crime of violence” is defined in an almost identical manner as “violent felony” under the

 ACCA. See U.S. Sentencing Manual §4B1.2(a) (adopting identical use-of-force and residual

 clauses as well as a nearly identical enumerated-offense clause).

        The validity of Petitioner’s sentence thus depends on whether two or more of his prior

 convictions qualify as “crimes of violence” under one of the unaffected provisions of Section

 4B1.2(a) or as “controlled substance offenses” under Section 4B1.2(b). See e.g., United States v.

 Ozier, 796 F.3d 597, 604 (6th Cir. 2015) (explaining courts need not decide what import, if any,

 Johnson has on the Sentencing Guidelines’ residual clause where the petitioner’s prior

 convictions qualify as predicate offenses independent of the residual clause), overruled on other

 grounds by Mathis v. United States, 136 S. Ct. 2243, 2251 n. 1 (2016). To determine whether an

 offense qualifies under one of the above provisions, courts must first identify the precise crime of

 conviction by employing a “categorical approach,” looking “only to the statutory definitions—

 elements—of a prior offense, and not to the particular facts underlying [each individual]

 conviction[].” Descamps v. United States, 133 S. Ct. 2276, 2283, 2285 (2013).

        Review of Petitioner’s PSR reveals that a sufficient number of his prior convictions

 categorically qualify as predicate offenses independent of the residual clause and, as a result, the

 Court finds that he has failed to demonstrate an entitlement to collateral relief.

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        Petitioner’s Tennessee drug conviction involved the possession of a controlled substance

 with intent to distribute and carried a maximum penalty in excess of one year incarceration [PSR

 ¶ 41]. As a result, that offense was properly classified as a predicate conviction under Section

 4B1.1(a)(3).   See, e.g., United States v. Jenkins, 613 F. App’x 754, 755 (10th Cir. 2015)

 (deeming the Johnson decision “irrelevant” where enhancement stemmed from drug offenses).

 Further, binding Sixth Circuit precedent dictates that Petitioner’s Tennessee robbery conviction

 [PSR ¶ 39], categorically qualifies as a career-offender predicate under Section 4B1.2(a)(1)’s

 use-of-physical-force clause. See, e.g., United States v. Mitchell, 743 F.3d 1054, 1058–60 (6th

 Cir. 2014) (holding that Tennessee robbery is a violent felony under the ACCA’s use-of-

 physical-force clause); United States v. Taylor, 800 F.3d 701, 719 (6th Cir. 2015) (“Johnson

 leaves unaffected this Court’s determination that simple robbery in Tennessee is a predicate

 offense under ‘the use-of-physical-force’ clause”); United States v. Kemmerling, 612 F. App’x

 373, 375–76 (6th Cir. 2015) (reiterating that Johnson did not affect the use-of-physical-force

 clause). Because the Johnson decision is inapposite, it cannot serve as a basis for granting relief.

 V.     REQUEST FOR COUNSEL

        Petitioner requests that this Court appoint counsel to assist in the litigation of his

 Johnson-based collateral challenge. By a standing order entered on February 11, 2016, this

 Court instructed the Federal Defender Services of Eastern Tennessee (“FDSET”) to “identify

 defendants with a claim for relief under Johnson” and appointed FDSET to “represent any

 defendant who seeks relief under § 2255 in light of Johnson.” E.D. Tenn. SO-16-02 (Feb. 11,

 2016). Thus counsel has already been appointed to look into whether Petitioner has a claim and

 given leave to supplement his pro se filings where appropriate, making the instant request moot.



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 VI.    REQUEST FOR STAY

        Petitioner also requests that this Court stay resolution of his petition pending the Supreme

 Court’s decision next term in Beckles, presumably because the decision is expected to address a

 key issue in his case—retroactive application of the Johnson decision in the Guideline context.

        “The question whether to stay a case pending a potentially dispositive decision in an

 appellate court is a pre-trial matter committed to the sound discretion of the [court].” United

 States v. Johnson, No. 3:11-CR-48, 2016 WL 4035187, at *1 (S.D. Ohio July 28, 2016). Under

 the circumstances of the current case, and because Petitioner has failed to demonstrate that

 retroactive application of the Johnson decision would convert his sentence into one imposed in

 contravention of the laws of the United States, this Court declines to issue the requested stay.

 VII.   CONCLUSION

        For the reasons discussed above, Petitioner’s requests for counsel and a stay [Doc. 278]

 will be DENIED as moot and § 2255 motion [Doc. 270] will be DENIED and DISMISSED

 WITH PREJUDICE. The Court will CERTIFY any appeal from this action would not be

 taken in good faith and would be totally frivolous. Therefore, this Court will DENY Petitioner

 leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules of Appellate

 Procedure.    Petitioner having failed to make a substantial showing of the denial of a

 constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule

 22(b) of the Federal Rules of Appellate Procedure.

        ORDER ACCORDINGLY.


                                       s/ Thomas A. Varlan
                                       CHIEF UNITED STATES DISTRICT JUDGE



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